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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a
BRAZOS LICENSING AND                              Civil Action No.: 6:20-cv-00473-ADA
DEVELOPMENT,                                      Civil Action No.: 6:20-cv-00476-ADA
                                                  Civil Action No.: 6:20-cv-00477-ADA
     Plaintiff,

              v.                                  JURY TRIAL DEMANDED

DELL TECHNOLOGIES INC.,
DELL INC., AND EMC
CORPORATION,

     Defendants.

WSOU INVESTMENTS, LLC d/b/a
BRAZOS LICENSING AND
DEVELOPMENT,                                      Civil Action No.: 6:20-cv-00480-ADA
                                                  Civil Action No.: 6:20-cv-00481-ADA
      Plaintiff,                                  Civil Action No.: 6:20-cv-00486-ADA

                  v.
                                                  JURY TRIAL DEMANDED
DELL TECHNOLOGIES INC.,
DELL INC., AND EMC
CORPORATION, and VMWARE, INC.,

      Defendants.


                           AMENDED SCHEDULING ORDER

                      Event                        Current Deadline         New Deadline
Close of Fact Discovery.                              May 6, 2022            May 6, 2022
The Parties agree that the following items may    Not addressed in prior   As specified under
be taken past the close of fact discovery on or     scheduling order             Event
by the date specified:
• Review of VMware source code until May
    13, 2022;
• Deposition of Matt Hogan currently
    scheduled on May 24, 2022 due to illness;
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•   WSOU can pursue production and review
    of source code from Broadcom in case nos.
    6:20-cv-473 and 6:20-cv-476 until July 1,
    2022; Dell will work cooperatively with
    Broadcom and WSOU to facilitate source
    code production to the extent it is able to,
    though Dell represents that it has no control
    over that code or whether Broadcom will
    produce it; and
• Any prompt, diligent, and narrowly targeted
    follow up based on recently obtained
    discovery until July 1, 2022.
Deadline for WSOU to dismiss with prejudice           May 6, 2022        May 6, 2022
three, if not more, additional cases. Dismissals
will be with each side to bear its own costs and                      (WSOU has already
fees.                                                                  complied with this
                                                                        deadline, having
Of the at least six cases WSOU dismisses by                            dismissed case no.
the close of fact discovery (at least three by                        6:20-cv-485 against
January 15, 2021 and at least three by May 6,                         VMWare/Dell/EMC
2022), at least one case dismissed must be                             and case nos. 6:20-
against VMware/Dell/EMC (i.e., case nos.                              cv-475 and 6:20-cv-
6:20-cv-480; 6:20-cv-481; 6:20-cv-485; 6:20-                              482 against
cv-486) and at least two cases dismissed must                              Dell/EMC)
be against Dell/EMC (i.e., Case Nos. 6:20-cv-
473; 6:20-cv-474; 6:20-cv-475; 6:20-cv-476;
6:20-cv-477; 6:20-cv-478; 6:20-cv-479; 6:20-
cv-482).
Opening Expert Reports.                               May 20, 2022       July 15, 2022
Rebuttal Expert Reports.                              June 17, 2022    August 12, 2022
Close of Expert Discovery.                             July 8, 2022   September 9, 2022
Deadline for the second of two meet and               July 15, 2022   September 19, 2022
confers to discuss narrowing the number of
specific claims asserted and specific prior art
references to be asserted to triable limits. To the
extent it helps the parties determine these
limits, the parties are encouraged to contact the
Court’s Law Clerk for an estimate of the
amount of trial time anticipated per side. The
parties shall file a Joint Report within 5
business days regarding the results of the meet
and confer.
Dispositive motion deadline and Daubert               July 22, 2022   September 26, 2022
motion deadline.
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 Serve Pretrial Disclosures (jury instructions,        July 29, 2022       October 3, 2022
 exhibit lists, witness lists, discovery and
 deposition designations).
 Serve objections to pretrial disclosures/rebuttal     August 5, 2022      October 11, 2022
 disclosures.
 Serve objections to rebuttal disclosures and file    August 12, 2022      October 18, 2022
 motions in limine.
 File Joint Pretrial Order and Pretrial               August 19, 2022      October 25, 2022
 Submissions (jury instructions, exhibit lists,
 witness lists, discovery and deposition
 designations); file oppositions to motions in
 limine.
 File Notice of Request for Daily Transcript or       August 26, 2022     November 1, 2022
 Real Time Reporting. If a daily transcript or
 real time reporting of court proceedings is
 requested for trial, the party or parties making
 said request shall file a notice with the Court
 and e-mail the Court Reporter, Kristie Davis at
 kmdaviscsr@yahoo.com.

 Deadline to meet and confer regarding
 remaining objections and disputes on motions
 in limine.
 File joint notice identifying remaining             September 9, 2022    November 15, 2022
 objections to pretrial disclosures and disputes
 on motion in limine.
 First Final Pretrial Conference.                    September 23, 2022   November 28, 2022
 Jury Selection / 1st Trial.                           October 3, 2022    December 5, 2022
 Second Final Pretrial Conference.                                         To be set by the
                                                                               Court
 Jury Selection / 2nd Trial.                                               To be set by the
                                                                               Court


SIGNED this _____day of ___________________ 2022.



                                              ___________________________________
                                              ALAN D ALBRIGHT
                                              UNITED STATES DISTRICT JUDGE
